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                            UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 ROBERT GREENE,                                     §
                                                    §
           Plaintiff,                               §
                                                    §
 v.                                                 §            No.4:14-cv-00167
                                                    §
 AMPCO PRODUCTS, INC.,                              §
 A foreign corporation,                             §         JURY TRIAL DEMANDED
                                                    §
           Defendant.                               §



                                 AGREED ORDER OF DISMISSAL

           Having considered the Joint Motion to Dismiss With Prejudice [de #15] in its

 entirety, the court finds it should be in all respects granted. It is, therefore,

           ORDERED, ADJUDGED AND DECREED that this lawsuit, including all causes of

 action brought by Plaintiff against Defendant in the above-entitled and numbered cause, be and

 the same are hereby DISMISSED WITH PREJUDICE to the right of the Plaintiff to refile same

 or any part thereof. All costs of court and attorneys’ fees are borne by the party incurring same.

                    .   SIGNED this the 21st day of July, 2015.
 4827-5617-7701, v. 1




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                                                                RICHARD A. SCHELL
                                                                UNITED STATES DISTRICT JUDGE




 AGREED ORDER OF DISMISSAL                                                                    Page 1
